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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
  ____________________________________
                                     :
  LANCE AIZEN                        :
                                     :
                    Plaintiff,       :
                                     :     Case No.: 3:18-cv-15195-BRM-DEA
              v.                     :
                                     :                   ORDER
  AMERICAN HEALTHCARE                :
  ADMINISTRATIVE SERVICES, INC.,     :
  et al.,                            :
                                     :
                    Defendants.      :
                                     :

          THIS MATTER is before the Court on the Court’s Order to Show Cause (ECF No. 11)

  concerning subject matter jurisdiction, as well as Plaintiff Lance Aizen’s (“Aizen”) Motion to

  Strike Defendants’ Supplemental Brief and to File a Supplemental Reply (ECF No. 16). All

  parties submitted briefs to the Court. (ECF Nos. 14, 15, 16-1, 17, & 18.) Having reviewed the

  parties’ submissions filed in connection with both matters, and having declined to hear oral

  argument pursuant to Federal Rule of Civil Procedure 78(b), for the reasons set forth in the

  accompanying Opinion, and for good cause shown,

          IT IS on this 26th day of September, 2019,

          ORDERED, that Aizen’s Motion to Strike Defendants’ Supplemental Brief and to File a

  Supplemental Reply (ECF No. 16) is GRANTED IN PART and DENIED IN PART, such that

  the Court retroactively grants Aizen leave to file his supplemental reply brief (ECF No. 16-1) but

  will not strike any party’s brief and it is further

          ORDERED, that this case is DISMISSED for lack of subject matter jurisdiction; and it

  is further
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       ORDERED that this case is CLOSED.

                                            /s/ Brian R. Martinotti___________
                                            HON. BRIAN R. MARTINOTTI
                                            UNITED STATES DISTRICT JUDGE
